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  Filed This 25th Day of August, 2022      By:     CIRCUIT CITY STORES, INC.
                                                   LIQUIDATING TRUST


                                                   By: /s/ Lynn L. Tavenner


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